Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 1 of 37 PageID: 1867




                    UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY


 CHRISTINE JANKOWSKI, et al.,            )
                                         )
                                         )
      Plaintiffs,                        )
                                         )
                                         ) Case No.: No. 3:20-cv-02458
 v.                                      )
                                         )
                                         )
 ZYDUS PHARMACEUTICALS USA,              )
 INC.; and DOES 1-50, Inclusive,         )
                                         )
                                         )
      Defendants.                        )


    PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S
 MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT



 Anthony Pinnie                           DOYLE APC
 PINNIE LAW OFFICES                       Chris W. Cantrell (To Apply Pro Hac
 334 West Front Street                    Vice)
 Media, PA 19063                          chris@doyleapc.com
 Telephone: (610) 892-9200                550 West B Street
 Email: apinnie@pinnielaw.com             San Diego, CA 92101
                                          Tel: (619) 736-0000
 CONSUMER LAW GROUP OF                    Fax: (619) 736-1111
 CALIFORNIA
 Alan M. Mansfield (To Apply Pro          WOOD LAW FIRM, LLC
 Hac Vice)                                E. Kirk Wood (Pro Hac Vice)
 alan@clgca.com                           ekirkwood1@cs.com
 16870 W. Bernardo Dr., Suite 400         P. O. Box 382434
 San Diego, CA 92127                      Birmingham, AL 35238
 Tel: (619) 308-5034                      Tel: (205) 612-0243
 Fax: (855) 274-1888
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 2 of 37 PageID: 1868



                                         TABLE OF CONTENTS



 PRELIMINARY STATEMENT ............................................................................... 1

 SUMMARY OF FACTUAL ALLEGATIONS ........................................................ 3

 ARGUMENT ............................................................................................................ 5

          I.       Plaintiffs Sufficiently Alleged Claims Under New Jersey Law ........... 5

          II.      Plaintiffs’ Sole Live Theory – That Defendant Failed to Communicate
                   Adequate Warnings to Plaintiffs’ Doctors – Is Not Barred .................. 6

                   A. Plaintiffs’ Claims Were Adequately Pleaded .................................. 6

                   B. Plaintiffs’ Claim Is Not Preempted................................................ 22

          III.     Plaintiffs Did Not Alleged Their Medication Guide or Fraud Claims in
                   the Second Amended Complaint ........................................................ 23

          IV.      The Statute of Limitations Does Not Facially Bar Plaintiffs’ Claims 24

          V.       Plaintiffs Did Not File Duplicative Lawsuits Against Zydus, and,
                   Because of Zydus and Other Manufacturers’ Actions in California, it
                   is Not “Feasible” to Sue All the Manufacturers in One Forum .......... 28

          VI.      The Court Should Grant Leave to Amend .......................................... 30

 CONCLUSION ....................................................................................................... 31
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 3 of 37 PageID: 1869




                                    TABLE OF AUTHORITIES

 CASES:

 Alston v. Caraco Pharm., Inc.,
       670 F. Supp. 2d 279 (S.D.N.Y. 2009) ........................................................... 16

 Baker v. St. Agnes Hosp.,
       70 A.D.2d 400 (N.Y. App. Div. 1979) .................................................... 11-16

 Ben Elazar v. Macrietta Cleaners, Inc.,
       165 A.3d 758 (N.J. 2017) .............................................................................. 25

 Berke v. Buckley Broad. Corp.,
       821 A.2d 118 (N.J. Super. Ct. App. Div. 2003) ............................................ 26

 Bristol-Myers Squibb Co. v. Superior Court (“BMS”),
       137 S. Ct. 1773 (2017) .................................................................................. 29

 Ee Mullin v. Balicki,
      875 F.3d 140 (3d Cir. 2017) .......................................................................... 30

 Fairfax Fin. Holdings Ltd. v. S.A.C. Capital Mgmt., L.L.C.,
       450 N.J. Super. 1, 60, 160 A.3d 44 (Super. Ct. App. Div. 2017) ................. 27

 Harris v. McNeil Pharm.,
       No. 3:98cv105, 2000 U.S. Dist. LEXIS 22972 (D.N.D. 2000)..................... 19

 Hrymoc v. Ethicon, Inc.,
      249 A.3d 191 (Super. Ct. App. Div. 2021) ................................................... 17

 Island Insteel Sys. v. Waters,
       296 F.3d 200 (3d Cir. 2002) .......................................................................... 26

 McCarrell v. Hoffmann-La Roche, Inc.,
     153 A.3d 207 (N.J. 2017) .............................................................................. 27

 Mitzner v. W. Ridgelawn Cemetery, Inc.,
       709 A.2d 825 (N.J. Super. Ct. App. Div. 1998) ...................................... 25, 26

                                                        iii
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 4 of 37 PageID: 1870




 MSKP Oak Grove, LLC v. Venuto,
     875 F. Supp. 2d 426 (D.N.J. 2012) ................................................................. 5

 Mulder v. Parke Davis & Co.,
      181 N.W.2d 882 (Minn. 1970) ...................................................................... 11

 Murthy v. Abbott Labs.,
      847 F. Supp. 2d 958 (S.D. Tex. 2012) .......................................................... 16

 P. v. Portadin,
        432 A.2d 556 (N.J. Super. Ct. App. Div. 1981) ...................................... 28, 29

 Perez v. Wyeth Laboratories Inc.,
       734 A.2d 1245 (N.J. 1999) ...................................................................... 16, 17

 Pettit v. SmithKline Beecham Corp.,
        2012 Phila. Ct. Com. Pl. LEXIS 214 (June 12, 2012) .................................. 19

 PLIVA, Inc. v. Mensing,
      564 U.S. 604 (2011) ................................................................................ 22, 23

 Schedin v. Ortho-McNeil-Janssen Pharms., Inc.,
       700 F.3d 1161 (8th Cir. 2012) ............................................................. 8, 20, 23

 Seavey v. Globus Med., Inc.,
       No. CIV. 11-2240 RBK/JS, 2014 WL 1876957 (D.N.J. Mar. 11,
       2014) ............................................................................................................. 16

 Sherman v. Pfizer, Inc.,
      440 P.3d 1016 (Wash. Ct. App. 2019) .......................................................... 20

 Stevens v. Parke, Davis & Co.,
       507 P.2d 653 (Cal. 1973) .............................................................................. 11

 Video Pipeline, Inc. v. Buena Vista Home Entm’t, Inc.,
       210 F. Supp. 2d 552 (D.N.J. 2002) ................................................................. 9

 Walsh v. Upsher-Smith Labs., Inc.,
      2021 Minn. Dist. LEXIS 430 (Oct. 4, 2021) ........................................... 1, 7-9

                                                             iv
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 5 of 37 PageID: 1871




 Wilson v. Can. Life Assurance Co.,
       No. 4:08-CV-1258, 2009 U.S. Dist. LEXIS 16714 (M.D. Pa. 2009) ........... 30

 Wisiewski v. Fisher,
       857 F. 3d 152 (3d Cir. 2017) ......................................................................... 25

 Wolfgruber v. Upjohn Co.,
      72 A.D.2d 59 (N.Y. App. Div. 1979) ...................................................... 14, 16

 Zaza v. Marquess and Nell, Inc.,
       675 A.2d 620 (N.J. 1996) .............................................................................. 17

 Rules

 FED. R. CIV. P. 8 ...................................................................................................... 21

 FED. R. CIV. P. 8(d)(2) ............................................................................................... 5

 FED. R. CIV. P. 19(a) ................................................................................................ 30

 Statutes and Regulations

 N.J. STAT. § 2A:58C-4............................................................................................... 6

 Secondary Sources

 RESTATEMENT (SECOND) OF TORTS, § 388 ................................................................ 7

 Dreier, Karg, Keefe & Katz, N.J. Products Liability & Toxic Torts Law § 8:3-2 at
 203 (2020) ............................................................................................................... 18

 Richard J. Heafey & Don M. Kennedy, Products Liability: Winning Strategies and
 Techniques § 10.03 (1999) ...................................................................................... 17




                                                              v
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 6 of 37 PageID: 1872




                          PRELIMINARY STATEMENT

       This Court should deny the motion to dismiss. The Second Amended

 Complaint (“SAC”) alleges in detail how Defendant, Zydus Pharmaceuticals USA,

 Inc. (“Zydus” or “Defendant”), violated its state-law duty to adequately warn of the

 dangers and complications associated with Amiodarone by failing to communicate

 FDA warnings to doctors. A state trial court in an Amiodarone case just recently

 rejected a motion for summary judgment making arguments almost identical to

 Defendant’s arguments in this case. Walsh v. Upsher-Smith Labs., Inc., 2021 Minn.

 Dist. LEXIS 430, *19 (Oct. 4, 2021).

       Defendant first argues that Plaintiffs’ negligence claims are subsumed by the

 New Jersey Products Liability Act. But Plaintiffs expressly pleaded their negligence

 claims in the alternative if this Court finds that the law of their home states applies.

 The Federal Rules of Civil Procedure expressly permit alternative pleading. In all

 the cases Defendant cites, it was apparently undisputed that New Jersey law applied.

 This issue appears to be a moot point, however, because Defendant does not appear

 to dispute that New Jersey substantive law applies.

       Defendant next argues that it had no duty to communicate FDA warnings to

 doctors, so Plaintiffs’ failure-to-warn claims are inadequately pleaded. Essentially,

 Defendant contends that it has no duty to warn consumers and that the mere

 existence of an adequate warning is sufficient to warn doctors. Defendant’s

                                            1
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 7 of 37 PageID: 1873




 argument fails. Contrary to Defendant’s assertion, many courts—including a court

 this October in a related Amiodarone case—have held that manufacturers must

 communicate FDA warnings to physicians. That is, the mere existence of an

 adequate warning is not sufficient. Indeed, it appears that most courts require

 manufacturers at least to place their FDA warnings in the Physician’s Desk

 Reference (“PDR”), which Zydus did not do.

       This rule makes much more sense than the minority rule because package

 inserts are not intended to go to doctors and, in any event, the pharmacist usually

 discards package inserts. In other words, Defendant asks this Court to hold as a

 matter of law that a warning that is almost certain not to reach doctors is sufficient

 to warn doctors as a matter of law. This is not a case in which the doctors testified

 that they never read any product information. Doctors have not testified at all. In

 fact, Plaintiffs pleaded that, in the vacuum created by Defendant’s failure to provide

 FDA warnings, doctors relied on misleading information in third-party sources that

 falsely suggested Amiodarone was safe to prescribe for atrial fibrillation.

       Next, Defendant argues that Plaintiffs’ claims are preempted, because it is

 “impossible” for Defendant to comply with state law requiring it to communicate

 adequate warnings to physicians. But Plaintiffs argue that Defendant is liable for

 failing to communicate the FDA warning. Plaintiffs do not allege that Defendant

 should have changed the FDA warning at all. Federal law allows Defendant to

                                           2
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 8 of 37 PageID: 1874




 communicate warnings if the warnings are the same as the warning approved by the

 FDA. Federal law certainly does not forbid Defendant from warning doctors by, for

 instance, submitting FDA warnings for publication in the PDR.

       This Court should disregard Defendant’s arguments directed toward

 Plaintiffs’ Medication Guide or fraud theories. Although Plaintiffs preserved these

 theories for appeal, the Court dismissed them, and the Second Amended Complaint

 does not rely on them.

       Finally, Plaintiffs’ claims are adequately pleaded, and none of them is barred

 by the New Jersey statute of limitations. And while many Plaintiffs did file initially

 in California, their claims were dismissed for lack of personal jurisdiction, leading

 Plaintiffs to file suit in the manufacturers’ home states. There was nothing improper

 about this, and Plaintiffs recognize they cannot obtain a double recovery.

 Accordingly, because Defendant has raised no basis to dismiss Plaintiffs’ claims,

 this Court should deny its motion to dismiss.

                  SUMMARY OF FACTUAL ALLEGATIONS

       Plaintiffs are 220 individuals who either ingested the drug Amiodarone or are

 the family members of individuals who died from or were injured by Amiodarone.

 Plaintiffs or their decedents were diagnosed with a-fib. SAC ¶¶ 1-153 (in

 subparagraph a). In the Second Amended Complaint, Plaintiffs alleged personal

 injury based on Defendant’s failure to warn when it failed to communicate FDA-

                                           3
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 9 of 37 PageID: 1875




 mandated warnings to Plaintiffs’ physicians. See id. ¶¶ 1-153 (in subparagraph b, d,

 e, and g).1 Their doctors, because of Defendant’s failure to warn, prescribed

 Amiodarone that Defendant manufactured. Id. ¶¶ 1-153 (in subparagraph d).

 Plaintiffs filled the prescriptions. Id. Because they took Amiodarone, they or their

 decedents experienced serious side effects. Id. ¶¶ 1-153 (in subparagraph g).

        Amiodarone is the generic form of the Wyeth-branded drug Cordarone®.

 SAC ¶¶ 1-153 (in subparagraph e), 166. Zydus manufactures the generic version and

 received FDA approval to manufacture, market, and sell Amiodarone under an

 alternate new drug application that was based on the same requirements and

 limitations as the brand name drug, Cordarone. See id. ¶¶ 1-153(in subparagraph e).

 166. As a result, Zydus’ generic version of Amiodarone could be legally sold only

 for the same limited uses. But the FDA approved Cordarone® for use in the United

 States in 1985 only for treating life-threatening recurrent ventricular fibrillation or

 hemodynamically unstable ventricular tachycardia—and, even in those cases, only

 as a drug of last resort. Id. ¶¶ 157, 166, 177-78. It has never been approved for the

 treatment of atrial fibrillation and is unreasonably dangerous for such a use, even

 though each of the Plaintiffs or their decedents filled it for that use. See id. ¶¶ 1-153

 (in subparagraph b).



 1
  Plaintiffs alleged additional claims and theories—which this Court dismissed—in their previous
 complaints. Plaintiffs expressly reserved these claims for appeal. SAC ¶ 187 n. 24.
                                                  4
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 10 of 37 PageID: 1876




                                      ARGUMENT

  I.    Plaintiffs Sufficiently Alleged Claims Under New Jersey Law.

        Defendant argues that Plaintiffs’ causes of action for negligence are barred

  under New Jersey law, because the NJPLA subsumes their claims. This objection is

  misplaced, however, because Plaintiffs specifically alleged these causes of action in

  the alternative if “this Court holds that the law of Plaintiffs’ home states,” rather than

  New Jersey law, “applies.” SAC ¶ 199.

        The Federal Rules of Civil Procedure expressly provide that a plaintiff may

  “set out 2 or more statements of a claim or defense alternatively or hypothetically,

  either in a single count or defense or in separate ones.” FED. R. CIV. P. 8(d)(2). “If a

  party makes alternative statements, the pleading is sufficient if any one of them is

  sufficient.” Id. In other words, “Plaintiff is permitted to plead alternative theories of

  recovery.” MSKP Oak Grove, LLC v. Venuto, 875 F. Supp. 2d 426, 442 (D.N.J.

  2012). The cases cited by Defendant all involve situations in which it was apparently

  undisputed or established that New Jersey substantive law applies.

        Here, Plaintiffs pleaded the law of their home states in the alternative, not as

  additional claims. If New Jersey law applies, then Plaintiffs agree that their

  negligence claims are subsumed. But if the law of Plaintiffs’ home states applies,

  then Plaintiffs’ claims cannot be subsumed by New Jersey law. This is a moot point,

  however, because apparently both sides agree that New Jersey law applies.

                                              5
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 11 of 37 PageID: 1877




  II.       Plaintiffs’ Sole Live Theory2—That Defendant Failed to Communicate
            Adequate Warnings to Plaintiffs’ Doctors—is Not Barred.

            A.     Plaintiffs’ Claims Were Adequately Pleaded.

            Plaintiffs alleged that Defendant failed to warn by failing to communicate

  FDA warnings to Plaintiffs’ doctors. Under New Jersey law, a manufacturer is liable

  for failure-to-warn unless a “product contains an adequate warning or instruction.”

  N.J. STAT. § 2A:58C-4. Here, the product did not “contain” an adequate warning,

  because the prescriptions Plaintiffs filled were not accompanied by FDA labeling

  information, and—more importantly, since most prescription drug warnings are

  intended for physicians and Plaintiffs alleged failure to warn their doctors—

  Defendant did not communicate FDA warnings to Plaintiffs’ doctors. SAC ¶¶ 1-153

  (in subparagraph b, d, e, and g). For instance, Zydus did not place the FDA warnings

  in the PDR during the relevant period. SAC ¶ 169. In fact, there were no package

  inserts for any form of Amiodarone in the PDR from 2008 to 2016, the period during

  which most Plaintiffs were first prescribed Zydus Amiodarone (Zydus concedes in

  its brief that it did not even start manufacturing Amiodarone until 2008).

            Because they did not receive any warnings, Plaintiffs’ doctors falsely believed

  that Amiodarone was safe and effective as a first-line treatment for atrial fibrillation.




  2
      Plaintiffs expressly preserved their other claims for appeal.

                                                      6
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 12 of 37 PageID: 1878




  If the doctors had received FDA warnings,3 they would not have prescribed

  Amiodarone. SAC ¶¶ 1-153 (in subparagraph b, d, e, and g).

        Defendant contends that it satisfied its duty to warn as a matter of law because

  its labeling containing the FDA warnings was presumably affixed to bottles shipped

  to pharmacies—even though doctors do not receive labeling attached to

  prescriptions, and pharmacists generally throw it away. It provides no evidence or

  even argument that there were sufficient labels to accompany each prescription of

  Amiodarone consumed by Plaintiffs. (Based on Plaintiffs’ experience in other

  Amiodarone cases, each bottle contains more than one prescription.) Essentially,

  then, Defendant points to the mere existence of the labeling.

        Contrary to Defendant’s assertion, many courts have held that a drug

  manufacturer can be liable if it fails to communicate FDA warnings to doctors.

  Defendant failed use a method of warning that “gives a reasonable assurance that

  the information will reach” physicians. RESTATEMENT (SECOND) OF TORTS, § 388.

  Just a couple months ago in an Amiodarone case, a court denied a motion for

  summary judgment in which the defendant made arguments just like the arguments

  Defendant makes here. Walsh v. Upsher-Smith Labs., Inc., 2021 Minn. Dist. LEXIS

  430, *7 (Oct. 4, 2021). In that case, “[b]oth sides agree[d] that the substance of the



  3
    Under New Jersey law, the FDA warning, which Defendant did not provide in this case, is
  rebuttably presumed to be adequate.
                                            7
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 13 of 37 PageID: 1879




  FDA-prescribed set of warnings for Amiodarone is adequate.” Id. But the “Plaintiffs

  alleged that [the manufacturer] had failed to communicate FDA warnings to

  Plaintiffs’ doctors, leading them to form a false belief that Amiodarone was safe and

  effective as a first-line treatment for atrial fibrillation.” Id. at *7-*8.

         The defendant, however, argued that “it cannot be disputed that the FDA-

  prescribed warnings were provided to physicians.” Id. It asserted, like Defendant

  here, that the warning was available in many places. For instance, it was available

  on a “government website, [the manufacturer’s] own websites, and various online

  publications.” Id. at *8. The manufacturer also included “a package insert with each

  bottle of Amiodarone” (not each prescription) and “[f]or some number of years,

  prescribing information for Amiodarone was available in the [PDR].” Id.

         The Walsh plaintiffs pointed out that the manufacturer had provided no

  evidence that any of the plaintiffs’ doctors had actually received the FDA warnings.

  Id. And like New Jersey law, “under Minnesota law, generally, the adequacy of a

  warning is a fact question for the jury.” Id. (quotation omitted). They argued that the

  “law allows a reasonable jury to determine whether a pharmaceutical company's

  method of communicating FDA warnings was sufficient, when a plaintiff provides

  evidence that ‘the package insert and PDR warnings were not adequately

  communicating the [FDA warnings] to physicians.’” Id. *9 (quoting Schedin v.

  Ortho-McNeil-Janssen Pharms., Inc., 700 F.3d 1161, 1167 (8th Cir. 2012)).

                                               8
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 14 of 37 PageID: 1880




        The court agreed with the plaintiffs that “genuine issues of material fact exist

  regarding the adequacy of [defendant’s] method of communicating FDA warnings

  to physicians.” Id. Although the “FDA warning expressly states that Amiodarone

  should only be prescribed for life-threatening ventricular arrhythmias[,]” there was

  “evidence that a majority of Amiodarone prescriptions were being used to treat atrial

  fibrillation[,]” which could “be construed as circumstantial evidence of the

  ineffectiveness of [defendant’s] methods of warning physicians about the dangers of

  such prescriptions.” Id. at *11. In the absence of any evidence that the Plaintiffs’

  physicians received the FDA warnings, the court could not “find, as a matter of law,

  that [the manufacturer] satisfied its duty to warn Plaintiffs’ physicians.” Id. This was

  especially true since the manufacturer did not place its warning in the PDR when it

  could have or provide “the warnings directly to physicians or publish[] them in other

  publications likely to be read by prescribing physicians.” Id. at *12.

        Here, there is even less reason to grant Defendant’s motion to dismiss. While

  the Walsh court was ruling on a motion for summary judgment, Defendant has

  moved to dismiss. “A motion to dismiss under Rule 12(b)(6) for failure to state a

  claim upon which relief can be granted does not attack the merits of the case, but

  merely tests the legal sufficiency of the Complaint.” Video Pipeline, Inc. v. Buena

  Vista Home Entm’t, Inc., 210 F. Supp. 2d 552, 556 (D.N.J. 2002). Thus, “[w]hen

  considering a Rule 12(b)(6) motion, the reviewing court must accept as true all well-

                                             9
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 15 of 37 PageID: 1881




  pleaded allegations in the Complaint and view them in the light most favorable to

  the plaintiff.” Id. There is no evidence in the record that the FDA labeling

  “accompanied” the prescriptions that Plaintiffs filled. And, regardless, the FDA

  labeling (except for the Medication Guides, which Plaintiffs also did not receive) is

  supposed to go to doctors, not to consumers, and Plaintiffs pleaded that their doctors

  did not receive it. SAC ¶¶ 1-153 (in subparagraph b, d, e, and g).

         Plaintiffs in this case alleged under the NJPLA that Defendant did not

  communicate FDA warnings to their doctors and that, as a result, their doctors

  falsely believed that Amiodarone was safe to prescribe for atrial fibrillation because

  they were forced to rely on misleading information in other sources. SAC ¶¶ 1-153

  (in subparagraph b, d, e, and g), 169, 172, 176. Plaintiffs specifically pleaded that

  Zydus has never placed the FDA warning in the PDR and did not otherwise take

  adequate measures to communicate warnings to doctors. SAC ¶¶ 1-153 (in

  subparagraph b, d, e, and g), 169.

         Defendant implies that it satisfied its duty to warn as a matter of law because

  an adequate warning is accessible on a government website and can be found in

  package inserts.4 In essence, Defendant contends it has no duties at all. It has no duty

  to warn consumers, because its duty to warn runs only to the physician. And it has



  4
   Defendant, again, does not actually attempt to prove that the package inserts were included with
  Plaintiffs’ prescriptions.
                                                 10
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 16 of 37 PageID: 1882




  no duty to communicate FDA warnings to the doctor, because doctors know how to

  find warnings. The problem with Amiodarone, though, is that doctors do not, in fact,

  know that Amiodarone is unsafe to prescribe for non-life-threatening atrial

  fibrillation. SAC ¶¶ 1-153 (in subparagraph b, d, e, and g), 169. For this reason, it is

  especially important that Amiodarone manufacturers take reasonable steps to

  communicate FDA warnings to physicians.

        In arguing that the mere existence of a package insert satisfies the requirement

  of warning the doctor as a matter of law, Defendant ignores that “[t]he pharmacist

  … often removes and discards the insert …. There is no system for insuring, or even

  making it likely, that the physician sees the insert.” Baker v. St. Agnes Hosp., 70

  A.D.2d 400, 406 (N.Y. App. Div. 1979) (emphasis added); see also Stevens v. Parke,

  Davis & Co., 507 P.2d 653, 662 (Cal. 1973) (“Many prescribing physicians would

  not come into contact with package inserts or warning labels attached to the drug

  when the pharmacist filed the prescription. … It was within reason for the jury to

  find such warnings inadequate and to hold Parke, Davis liable for failing to

  reasonably warn of the drug’s danger.”); see also Mulder v. Parke Davis & Co., 181

  N.W.2d 882, 885 (Minn. 1970) (“[P]laintiff alleges the company was negligent in

  putting a dangerous drug on the market without giving adequate warning as to its

  use. . . . Although ‘stuffers’ which accompanied [the medication] and the so-called

  physicians’ desk reference gave adequate warning, plaintiff claims they did not come

                                            11
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 17 of 37 PageID: 1883




  to the doctor’s attention.”).

        The Baker court explains why the mere existence of an adequate warning is

  insufficient. 70 A.D.2d at 402-03. The Baker plaintiff alleged failure to warn against

  a drug manufacturer after the drug Dicumarol injured her fetus. Id. The FDA warning

  specifically warned against prescribing Dicumarol to pregnant women. Id. at 402.

  “The statement of contraindication appeared in [the manufacturer’s] package inserts

  at the time the instant cause of action arose.” Id. And “[a]s an additional measure,

  [the manufacturer], for a time, published information on Dicumarol in the [PDR],

  the compendium often relied upon by physicians to obtain knowledge of the proper

  uses and hazards of drugs.” Id. But later, the manufacturer “inexplicably withdrew

  its PDR statement entirely.” Id. at 403.

        The doctor, for his part, “did not consult the package insert or any other source

  of information on Dicumarol before ordering it for” the plaintiff. Id. at 403. “Based

  upon [the doctor’s] testimony and upon the contents of its own package inserts, [the

  manufacturer] moved for summary judgment dismissing the complaint … against

  it.” Id. When the trial court denied summary judgment, the manufacturer appealed.

        The appellate court affirmed the denial of the summary judgment. It first

  explained that the patient—especially in the absence of a plain English Medication

  Guide—must rely on the doctor to get information about the drug. Id. at 405. But

  “even the physician upon whom the patient most directly relies may himself lack a

                                             12
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 18 of 37 PageID: 1884




  complete knowledge of the potential hazards of each of the myriad of drugs at his

  disposal.” Id. Although “[s]tandards of competent medical care require the physician

  to obtain such knowledge before administering the drug, … he likewise must rely

  on others to provide the information in the first instance.” Id. Thus, it is “well

  established that a drug manufacturer is under a duty to warn the medical profession

  of dangers inherent in its biological drugs which, in the exercise of reasonable care,

  it knew or should have known to exist.” Id. (internal quotation omitted).

        In the Baker case, as here, the “plaintiffs themselves concede[d] that [the

  manufacturer’s] package insert warning was adequate, wholly proper and precisely

  that which is required.” Id. at 406. But, the court explained, this cannot end the

  inquiry, because “no matter how detailed and accurate, an uncommunicated warning

  is no warning at all.” Id. So, the drug manufacturer must maintain adequate warnings

  for its products. Id. But “equally important, it must take such steps as are reasonably

  necessary to bring that knowledge to the attention of the medical profession.” Id.

  (citing cases and literature). “The greater the potential hazard of the drug, the more

  extensive must be the manufacturer’s efforts to make that hazard known to the

  medical profession.” Id.

        The manufacturer in Baker, like Zydus here, failed to fulfill that second aspect

  of its duty. Plaintiffs acknowledge that, because of its duty of sameness, Zydus was

  not at liberty to change the language of the FDA warning. But its duty of sameness

                                            13
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 19 of 37 PageID: 1885




  did not prevent it from taking other measures to warn. In Baker, the court pointed

  out that the package insert does not reach and is not even intended to reach the

  doctor. First, the pharmacist usually throws it away. Id. Second, even if it was

  included with the prescription,5 the patient would receive it, not the doctor for whom

  it is intended. See id. The court noted that “[t]here are other, well-known methods

  by which pharmaceutical manufacturers apprise the medical profession of the

  dangers of a drug.” Id. at 407. “One is the PDR[.]” Id. “Others include so-called

  ‘Dear Doctor’ letters addressed to physicians, notices in medical journals, and the

  use of ‘detail men’ who call upon physicians personally to present them with

  information concerning pharmaceuticals.” Id. The manufacturer, like Zydus in this

  case, used none of these methods.

         The court pointed out that this was a different situation from a case in which

  the doctor simply ignored adequate warnings that he received. See id. (“This is not

  a case where the physician deliberately disregards the manufacturer's warning in

  favor of his own supposed knowledge of the drug.”); c.f. Wolfgruber v. Upjohn Co.,

  72 A.D.2d 59, 62 (N.Y. App. Div. 1979) (“We consider Baker distinguishable since

  in that case the warnings were furnished at one time in the [PDR] and then later

  discontinued. In the instant case not only were the warnings fully descriptive and



  5
    Here, of course, Plaintiffs specifically pleaded that they did not receive the package insert
  intended for patients called a “Medication Guide.” SAC ¶ 179.
                                                  14
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 20 of 37 PageID: 1886




  complete, but they were communicated to the prescribing physician”) (emphasis

  added). In Baker, as here, “the physician’s failure to search the literature can hardly

  be described as an unforeseeable circumstance.” Id. That is especially the case here

  when, because of misleading marketing, physicians routinely prescribe Amiodarone

  for non-life-threatening atrial fibrillation because they are unaware of the FDA

  labeling. SAC ¶¶ 1-153 (in subparagraph b, d, e, and g). The Baker court concluded

  that “the adequacy of [the manufacturer’s] warnings presents a question of fact to be

  determined at trial.” Id. at 408.

        This case is very similar to Baker. Here, Plaintiffs pleaded that Amiodarone

  is an extremely dangerous drug, which causes severe lung disease—fatal 10% of the

  time—in up to 17% of people who take it. See SAC ¶ 180. Plaintiffs’ physicians

  were unaware of the extent of the dangers of Amiodarone because Defendant did not

  communicate FDA warnings to them, so they relied on unreliable sources. SAC ¶¶

  1-153 (in subparagraph b, d, e, and g), 193. Defendant did not even submit its

  labeling to the PDR—something that it is permitted to do under federal law and that

  is essential to an adequate warning under New Jersey law. SAC ¶ 169. If Defendant

  had communicated the FDA warning to Plaintiffs’ doctors, they would not have

  prescribed Amiodarone for Plaintiffs’ non-life-threatening a-fib.

        Defendant cites several cases in which the doctor received the FDA labeling

  but did not read it or testified that he would not have read the warning even if he had

                                            15
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 21 of 37 PageID: 1887




  received it or that an adequate warning would not have changed his prescribing

  decision. See, e.g., Seavey v. Globus Med., Inc., No. CIV. 11-2240 RBK/JS, 2014

  WL 1876957, at *10 (D.N.J. Mar. 11, 2014) (“In the case of certain prescription

  drugs and medical devices, a manufacturer satisfies its duty to warn by providing the

  prescribing physician with information about the dangers of the drug or device.”)

  (emphasis added); Alston v. Caraco Pharm., Inc., 670 F. Supp. 2d 279, 284

  (S.D.N.Y. 2009) (holding on full evidentiary record that plaintiff could not show

  that “an alleged failure to warn was the proximate cause of his injuries” when the

  evidence showed that his doctor knew about the risks of the drug described in the

  labeling); Murthy v. Abbott Labs., 847 F. Supp. 2d 958, 968 (S.D. Tex. 2012)

  (focusing on whether a warning’s language was adequate).

        One of the cases Defendant cites is Alston. The Alston court cited Wolfgruber

  for the proposition that “[i]t has long been the law in New York that prescription

  medicine warnings are adequate when, as here, information regarding the precise

  malady incurred was communicated in the prescribing information.” Alston, 670 F.

  Supp. 2d at 284. Crucially, though, Wolgruber, far from overruling Baker,

  distinguished it by noting that, in Baker, as here, the manufacturer failed to

  communicate the FDA warnings in the PDR. Wolfgruber, 72 A.D.2d at 62.

        Defendant’s citation to New Jersey law is misleading. Perez v. Wyeth

  Laboratories Inc., 734 A.2d 1245, 1261 (N.J. 1999). Defendant quotes Perez as

                                           16
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 22 of 37 PageID: 1888




  stating that “a manufacturer who fails to warn the medical community of a particular

  risk may nonetheless be relieved of liability under the learned intermediary doctrine

  if the prescribing physician . . . did not read the warning at all.” MTD at p. 17.

  Defendant fails to note, however, that this passage was quoting another source,

  which was discussing the “superseding cause” principle. See Perez, 734 A.2d at

  1261 (quoting Richard J. Heafey & Don M. Kennedy, Products Liability: Winning

  Strategies and Techniques § 10.03 (1999)). After quoting this source, the New Jersey

  Supreme Court specifically rejected its application: “On balance, we believe that the

  patient’s interest in reliable information predominates over a policy interest that

  would insulate manufacturers.” Id. at 1262. It explained that “[p]roducts liability law

  is based on concepts of fairness, feasibility, practicality and functional

  responsibility. We have always stressed the public’s interest in motivating

  individuals and commercial entities to invest in safety to protect workers.” Id.

  (quoting Zaza v. Marquess and Nell, Inc., 675 A.2d 620 (N.J. 1996)).

        Defendant also cites dicta from Hrymoc v. Ethicon, Inc., 249 A.3d 191 (Super.

  Ct. App. Div. 2021). But in fact, the Hrymoc decision supports Plaintiffs’ position

  overall. The Hrymoc court explained that “[p]atients deprived of reliable medical

  information may ‘establish that the misinformation was a substantial factor

  contributing to their use of a defective pharmaceutical product.’” Hrymoc, 249 A.3d

  at 217. Quoting a “leading treatise” approvingly, it explained that

                                            17
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 23 of 37 PageID: 1889




               Where the plaintiffs’ prescribing physicians unequivocally
               testify that they had full knowledge of the dangers
               associated with a drug and that neither that knowledge nor
               anything in the enhanced post-injury warnings supplied by
               the manufacturer would have altered their decision to
               prescribe it, the plaintiff has failed to show that inadequate
               warnings are a proximate cause of injury and there must
               be a verdict for defendant.

  Id. at 220 (quoting Dreier, Karg, Keefe & Katz, N.J. Products Liability & Toxic

  Torts Law § 8:3-2 at 203 (2020)) (emphasis added by court). But “[w]here such a

  statement is not unequivocal the matter is properly for the jury.” Id.

        Here, Zydus provided no warnings to the physicians. This is not a case where

  the physicians testified that they read no warnings at all or that a proper warning

  would not have changed their recommendation. The physicians have not testified yet

  at all. And Plaintiffs pleaded that (1) in the absence of FDA warnings, the doctors

  were forced to rely on misleading third-party sources (SAC ¶ 176) and (2) if

  Plaintiffs’ doctors had received FDA warnings, they would have read them and

  would not have prescribed Amiodarone (SAC ¶¶ 1-153 (in subparagraphs b-d)). If

  Defendant had communicated the FDA warning, Plaintiffs’ doctors would have

  heeded them. SAC ¶¶ 1-153 (in subparagraphs d). In other words, Plaintiffs’ doctors

  did read the only “warnings” they got, which were not the FDA warnings. In the

  vacuum created by Defendant’s inaction, the doctors relied on misleading

  information not approved by the FDA.

        Defendant’s interpretation of New Jersey law creates a Catch-22 such that a
                                            18
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 24 of 37 PageID: 1890




  defendant manufacturer can always avoid liability simply by not providing a

  warning. After all, if the physician never receives a warning, there is nothing for her

  to read. And, Defendant reasons, if the doctor does not read anything, the

  manufacturer’s failure to provide anything to read cannot be the cause of the

  consumer’s injuries. Defendant’s reasoning only makes sense in failure-to-warn

  cases in which a plaintiff complains that a manufacturer communicated an

  inadequate warning. Here, Plaintiffs complain Defendant communicated nothing.

        Defendant’s reference to Harris v. McNeil Pharm., No. 3:98cv105, 2000 U.S.

  Dist. LEXIS 22972 (D.N.D. 2000) is similarly unavailing. In that case, the plaintiff

  was a physician and failed to read the package insert and the PDR. Harris, 2000 U.S.

  Dist. LEXIS 22972, at *10. Here, though, Plaintiffs pleaded that Defendant never

  communicated the FDA warning to their doctors, either through the package insert

  (which doctors generally do not receive) or through the PDR. Reading the PDR

  would not have helped, because Zydus did not place FDA warnings for Amiodarone

  in the PDR See Pettit v. SmithKline Beecham Corp., 2012 Phila. Ct. Com. Pl. LEXIS

  214, *10 (June 12, 2012) (“[The prescriber] repeatedly testified he could not recall

  ever reviewing the [drug’s] label or [the PDR].”) (emphasis added).

        Though Defendant cites some out-of-state decisions that seem to support its

  position, most states require manufacturers to warn at least by placing warnings in

  the PDR, especially when, as here, Plaintiffs allege physicians are not receiving FDA

                                            19
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 25 of 37 PageID: 1891




  warnings. Schedin, 700 F.3d at 1167. The Schedin court explained that “[m]any

  courts considering the question have held a properly worded package insert is a

  sufficient warning as a matter of law, at least when it is combined with an entry in

  the PDR.” Id. (emphasis added). On the other hand, other courts hold that even the

  PDR is not necessarily sufficient. See id. The Schedin court ultimately held that,

  even if the PDR and package insert are usually sufficient, they are not sufficient if

  there is evidence doctors are not receiving the FDA warnings. Id. at 1167 (“[A]

  reasonable jury could find [the manufacturer] should have realized the adverse event

  reports indicated physicians were unaware of the [relevant FDA] warning”).

        Here, Defendant’s warning was insufficient regardless of which side of the

  split discussed in Schedin the Court accepts. Defendant did not warn about its

  Amiodarone in the PDR during the relevant period when Plaintiffs were first

  prescribed Defendant’s Amiodarone. SAC ¶ 169. And there is evidence that doctors

  are not receiving the FDA warnings, because they continue to prescribe Amiodarone

  for non-life-threatening atrial fibrillation, even though the FDA labeling warns

  against this use. See SAC ¶¶ 1-153 (in subparagraph b, d, e, and g), 193. It is true

  that there are some states that seem to imply that the mere existence of a package

  insert constitutes a sufficient warning. See Sherman v. Pfizer, Inc., 440 P.3d 1016,

  1024-25 (Wash. Ct. App. 2019). But this minority position makes no sense because

  doctors do not actually receive package inserts.

                                           20
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 26 of 37 PageID: 1892




        Finally, Defendant argues that it adequately warned because its warning is

  available on third-party websites. See MTD at p. 19 (“[A]ny allegation that Zydus

  did not make their label available is unsupported by any facts. Zydus’ label has been

  published on federally run websites like Dailymed for the last decade.”). This

  argument is bizarre, given Zydus’s insistence that it cannot be liable for

  misinformation in third-party sources. Zydus apparently wants to disclaim any

  responsibility for misinformation on third-party websites but take credit for FDA-

  approved information on third-party websites. This Court should not let Zydus have

  it both ways.

        Defendant also suggests vaguely that Plaintiffs’ Second Amended Complaint

  is inadequately pleaded under FED. R. CIV. P. 8 because it contains minor drafting

  errors. For instance, Plaintiff pleaded that Cecil Thomas received 400 mg tablets of

  Amiodarone, even though Zydus only manufactures 200 mg tablets. MTD at p. 33.

  Plaintiffs reviewed the prescription records, and it appears that Mr. Thomas was

  prescribed 400 mg tablets at one point and tapered down to 200 mg tablets. But he

  filled the 400 mg prescription with two 200 mg tablets.

        As another example, Zydus states that some Plaintiffs claim to have been

  prescribed Amiodarone as far back as 2000, before it received FDA approval to

  market Amiodarone. MTD at p. 33. But many Plaintiffs consumed Amiodarone from

  multiple manufacturers. Defendant will learn details in discovery, but Plaintiffs do

                                           21
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 27 of 37 PageID: 1893




  not object to repleading to correct these minor drafting errors or clarify ambiguities.

  The core of Plaintiffs’ claims is clear.

        Because Defendant failed to communicate FDA warnings to Plaintiffs’

  physicians, Defendant failed to adequately warn. Accordingly, this Court should

  deny Defendant’s motion to dismiss.

        B.     Plaintiffs’ Claim is Not Preempted.

        Defendant contends that, as a generic manufacturer, it is not allowed to

  communicate FDA labeling to doctors under federal law. In other words, Defendant

  argues it would violate federal law for it to communicate federally mandated

  physician warnings to physicians.

        Defendant’s argument is based on a misreading of the primary case it cites,

  PLIVA, Inc. v. Mensing, 564 U.S. 604 (2011). In Mensing, the Court explained that

  a “Dear Doctor letter that contained substantial new warning information would not

  be consistent with the drug’s approved labeling. Moreover, if generic drug

  manufacturers, but not the brand-name manufacturer, sent such letters [i.e., Dear

  Doctor letters containing substantial new warning information], that would

  inaccurately imply a therapeutic difference between the brand and generic drugs and

  thus could be impermissibly ‘misleading.’” Id. at 615 (emphasis added).

        In contrast to Mensing, Plaintiffs here merely want Zydus to communicate the

  FDA-mandated labeling, not “substantial new warning information.” Id. Plaintiffs

                                             22
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 28 of 37 PageID: 1894




  have always acknowledged that, under Mensing, all labeling information Defendant

  provides must be the same as the brand labeling. Regardless, even if Defendant

  cannot send out Dear Doctor letters containing the FDA-mandated labeling, it does

  not contest that it has other methods of communicating warning—for instance, the

  PDR. In Schedin, the court explained that “drug companies communicate with

  physicians about their products using the PDR, in-person visits by sales

  representatives, ‘Dear Doctor’ letters sent to individual physicians, and other

  methods.” 700 F.3d at 1164. Zydus does not argue that its federal duties preclude all

  methods of warning physicians.

         Because it was not “impossible” for Zydus to communicate FDA warnings to

  Plaintiffs’ physicians, Plaintiffs’ claims are not preempted.

  III.   Plaintiffs Did Not Allege Their Medication Guide or Fraud Claims in the
         Second Amended Complaint.

         Defendant spends a large portion of its motion to dismiss contending that

  Plaintiffs’ fraud and Medication Guide claims are inadequately pleaded and must be

  dismissed as preempted. See MTD at pp. 20-24, 29-32, 33-36. For the reasons set

  forth in their response to Defendant’s original motion to dismiss, Plaintiffs disagree

  on the substance. But this Court has already dismissed Plaintiffs’ Medication Guide

  theory and fraud claims. And while Plaintiffs expressly preserved these claims for

  appeal, Plaintiffs do not urge them in their SAC. SAC ¶¶ 187 n. 24, 188-96.

         Defendant points to two paragraphs in the live complaint that reference
                                            23
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 29 of 37 PageID: 1895




  Medication Guides, but neither paragraph asserted a Medication Guide claim. MTD

  at p. 5 (citing SAC ¶¶ 167, 191). In ¶ 167, Plaintiffs mention Defendant’s duty to

  provide Medication Guides only as background information. SAC ¶ 167. In ¶ 191,

  Plaintiffs do not even mention Medication Guides. Instead, they note that, because

  Plaintiffs never received any information from Defendant, Plaintiffs did not know

  the potential risks and side effects of Amiodarone. SAC ¶ 191. Even if Defendant

  only had a duty to warn doctors (as Plaintiffs have consistently alleged that it failed

  to do), the information in ¶ 191 is obviously relevant to causation.

        Because Plaintiffs did not allege a Medication Guide theory or a fraud claim

  in their Second Amended Complaint, Defendant’s argument directed at these

  theories is misplaced.

  IV.   The Statute of Limitations Does Not Facially Bar Plaintiffs’ Claims.

        None of the Plaintiffs’ claims is facially barred by the statute of limitations.

  All the Plaintiffs pleaded tolling doctrines and that their claims did not accrue until

  well after they consumed Amiodarone. SAC ¶¶ 1-153 (in subparagraph g). And most

  of the Plaintiffs that Defendant asserts are time-barred timely filed suit in California

  first. Because they diligently pursued their remedies in New Jersey after their

  California claims were dismissed for lack of personal jurisdiction and invoke other

  tolling doctrines, Plaintiffs’ claims are timely.

        Ordinarily, courts in the Third Circuit only dismiss a claim under the statute

                                             24
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 30 of 37 PageID: 1896




  of limitations at the motion-to-dismiss state if the claim is facially untimely.

  Wisiewski v. Fisher, 857 F. 3d 152, 157 (3d Cir. 2017) (noting that a “complaint is

  subject to dismissal for failure to state a claim on statute of limitations grounds only

  when the statute of limitations defense is apparent on the face of the complaint.”).

  Here, Plaintiffs specifically invoke multiple tolling doctrines and did not plead the

  date on which their claims accrued, which prevents the statutes of limitations from

  running on the face of the complaint. SAC ¶¶ 1-153 (in subparagraph g) (stating that

  the plaintiffs learned only later that Amiodarone caused their injuries); 190-91; Ben

  Elazar v. Macrietta Cleaners, Inc., 165 A.3d 758, 764 (N.J. 2017) (discussing the

  New Jersey discovery rule).

        New Jersey has a generous tolling doctrine for claims timely filed in other

  jurisdictions that were dismissed due to lack of personal jurisdiction. Mitzner v. W.

  Ridgelawn Cemetery, Inc., 709 A.2d 825, 826 (N.J. Super. Ct. App. Div. 1998). In

  Mitzner, the New Jersey court of appeals considered almost exactly this issue:

               [M]ay the two-year statute of limitations for personal
               injury actions, . . . be tolled by the filing of a complaint in
               a court of another state when the “untimely” New Jersey
               action is filed after the first action has been dismissed for
               lack of personal jurisdiction but before the time to appeal
               from the order of dismissal has expired[?]

  Id. The court answered the question “Yes.” Id. Relying on “New Jersey’s frequent

  reference to equitable principles to relieve the harshness of statutes of limitations,”

  the court held that “tolling does not end before the time to appeal has expired.”
                                             25
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 31 of 37 PageID: 1897




  Mitzner, 709 A.2d at 828; see also Island Insteel Sys. v. Waters, 296 F.3d 200, 217

  (3d Cir. 2002) (holding that the Mitzner rule—permitting tolling when a first-filed

  action is dismissed for lack of personal jurisdiction—is “the sounder rule” and

  applying it to the Virgin Islands).

        The Mitzner court did not address whether tolling would continue after the

  time to appeal expired, but New Jersey courts have continued to apply the principles

  contained in Mitzner. See, e.g., Berke v. Buckley Broad. Corp., 821 A.2d 118, 127

  (N.J. Super. Ct. App. Div. 2003). In Berke, the plaintiffs filed suit in New Jersey

  state court seventeen months after their claim was dismissed in federal court. 821

  A.2d at 126. The plaintiffs had appealed to the Third Circuit, but the Third Circuit

  dismissed their appeal as untimely due to a technicality. Id. The parties did not

  dispute that a “timely” appeal would have saved the plaintiffs’ New Jersey state

  action. Id. Under these circumstances, the court of appeals held that the statute of

  limitations was tolled, because the plaintiffs “diligently pursued” their remedy in

  another court. Id. at 127. The court also excused a “ten-week delay between the Third

  Circuit dismissal and the state filing,” because the delay was “not inordinate,” and

  the defendants could point to little prejudice as a result of the delay. Id.

        Here, Plaintiffs diligently pursued their remedy in a New Jersey forum after

  their claims were dismissed for lack of jurisdiction in California. Under New Jersey

  tolling law, then, Plaintiffs’ claims are timely filed.

                                             26
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 32 of 37 PageID: 1898




        Despite arguing that Plaintiffs’ negligence claims must be dismissed as

  subsumed under New Jersey law, Defendant seems to assume that the statutes of

  limitations of Plaintiffs’ home states apply. In fact, assuming arguendo that

  Plaintiffs’ claims would be dismissed under the statutes of limitations of their home

  states, there is a “outcome determinative” conflict between New Jersey law and the

  law of Plaintiffs’ home states. Fairfax Fin. Holdings Ltd. v. S.A.C. Capital Mgmt.,

  L.L.C., 450 N.J. Super. 1, 60, 160 A.3d 44, 79 (Super. Ct. App. Div. 2017).

        Under New Jersey choice-of-law rules, which apply in this New Jersey case,

  “when New Jersey has a substantial interest in the litigation and is the forum state,

  it will generally apply its statute of limitations.” Id. (internal quotation omitted).

               Stated another way, under [New Jersey law], the forum
               state “presumptively applies its own statute of limitations
               unless . . . [it] has no significant interest in the maintenance
               of the claim and the other state, whose statute has expired,
               has ‘a more significant relationship to the parties and the
               occurrence,’ . . . or . . . given ‘the exceptional
               circumstances of the case,’ following the Second
               Restatement rule would lead to an unreasonable result.”

  Id. (quoting McCarrell v. Hoffmann-La Roche, Inc., 153 A.3d 207, 224 (N.J. 2017)).

  And “New Jersey has a substantial interest in deterring its manufacturers from

  developing, making, and distributing unsafe products, including inadequately

  labeled prescription drugs.” Id.

        Therefore, in this case, the New Jersey statute of limitations and New Jersey’s

  tolling doctrines apply in this case. Defendant does not even attempt to explain why
                                             27
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 33 of 37 PageID: 1899




  New Jersey substantive law would apply to bar Plaintiffs’ negligence claims, but

  New Jersey tolling doctrine would not apply. For the reasons described above, the

  Plaintiffs’ claims are not barred by the statute of limitations.

  V.    Plaintiffs Did Not File Duplicative Lawsuits Against Zydus, and, Because
        of Zydus and Other Manufacturers’ Actions in California, it is Not
        “Feasible” to Sue All the Manufacturers in One Forum.

        This Court should reject Zydus’ novel argument that it is somehow improper

  for Plaintiffs to sue Zydus in its home state and other manufacturers in their home

  states. Multiple manufacturers are responsible for causing these Plaintiffs’ injuries,

  but Plaintiffs cannot sue all of the manufacturers in the same state because there is

  no state where Plaintiffs could obtain jurisdiction over all of them.

        With no citation to authority, Defendant asserts that, “[f]rom time to time in

  pharmaceutical mass tort and multidistrict litigation, some plaintiffs have either

  inadvertently or intentionally filed duplicative lawsuits asserting the same injury.

  These duplicative filings are generally not allowed to proceed[.]” MTD at p. 39.

  Without knowing which cases Defendant means, it is impossible to respond to this

  inadequately briefed assertion. Likely, however, Defendant means cases in which

  the same Plaintiffs file multiple lawsuits against the same Defendant in different

  forums. But here, as Defendant concedes, Plaintiffs only sued Zydus in this lawsuit.

        Plaintiffs, of course, acknowledge that they are not entitled to a double

  recovery. P. v. Portadin, 432 A.2d 556, 560 (N.J. Super. Ct. App. Div. 1981). But

                                             28
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 34 of 37 PageID: 1900




  Defendant’s remedy is to seek an offset if Plaintiffs recover from or settle with

  another manufacturer. The Portadin decision itself, one of two cases Defendant cites

  in this section of its brief, involved multiple defendants who caused the same injury.

  Nevertheless, the court did not order defendants dismissed; it simply cautioned the

  plaintiffs that they could not recover twice for the same injury. Id. When, as here,

  multiple manufacturers cause similar harm, but the court would not have jurisdiction

  over all of them, it makes no sense to limit Plaintiffs to a single lawsuit.

        To the extent Defendant just means it would have been simpler if Plaintiffs

  had filed suit against all Amiodarone manufacturers in a single lawsuit, Plaintiffs

  agree. Plaintiffs attempted to do so in California. And rather than accepting personal

  jurisdiction to avoid wasting “this Court’s resources as well as Zydus’” Zydus chose

  instead to contest personal jurisdiction. In light of the Supreme Court’s decision in

  Bristol-Myers Squibb Co. v. Superior Court (“BMS”), 137 S. Ct. 1773 (2017)—

  which the Supreme Court decided while Plaintiffs’ claims were pending in

  California—Zydus succeeded in its argument. So, as suggested by BMS itself,

  Plaintiffs filed suit in the manufacturers’ home state. See 137 S. Ct. at 1783 (“Our

  straightforward application in this case of settled principles of personal jurisdiction

  will not result in the parade of horribles that respondents conjure up. . . . Our decision

  does not prevent the California and out-of-state plaintiffs from joining together in a

  consolidated action in the States that have general jurisdiction over BMS.”).

                                             29
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 35 of 37 PageID: 1901




        Finally, contrary to Zydus’ implication, it is black-letter law that a court need

  not add even “necessary” parties if it is not “feasible.” FED. R. CIV. P. 19(a). “Joinder

  may not be feasible for a number of reasons, including . . . because the court lacks

  personal jurisdiction over the absentee.” Wilson v. Can. Life Assurance Co., No.

  4:08-CV-1258, 2009 U.S. Dist. LEXIS 16714, at *7 (M.D. Pa. 2009). Here, Zydus

  does not even contend that the absent parties are “indispensable” or that the court

  would have jurisdiction over them—nor could it, in light of its successful attempt to

  prevent Plaintiffs from suing in a single case.

        Despite, in California, urging Plaintiffs to sue it in New Jersey, Zydus now

  complains that it is somehow “gamesmanship” for Plaintiffs to do so. But because

  Zydus cites no authority showing that Plaintiffs’ actions were improper, this Court

  should reject its argument.

  VI.   The Court Should Grant Leave to Amend.

        Finally, if this Court concludes that any of Plaintiffs’ allegations are

  insufficiently pleaded, it should allow Plaintiffs the ability to re-plead their claims

  based on the findings of the Court. Ee Mullin v. Balicki, 875 F.3d 140, 150 (3d Cir.

  2017) (“While abuse of discretion is ordinarily a deferential standard of review, it

  has bite in this context; the District Court’s discretion, circumscribed by the Rule

  15’s directive in favor of amendment, must be ‘exercised within the context of liberal

  pleading rules.’”) (internal citations omitted).

                                             30
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 36 of 37 PageID: 1902




                                  CONCLUSION

       Plaintiffs ask this Court to deny the motion or grant them leave to amend.

  DATED: December 3, 2021              /s/ Anthony Pinnie     /     /
                                       Anthony Pinnie
                                       Pinnie Law Offices
                                       334 West Front Street
                                       Media, PA 19063
                                       Telephone: (610)-892-9200
                                       Email: apinnie@pinnielaw.com

                                       CONSUMER LAW GROUP OF
                                              CALIFORNIA
                                       Alan M. Mansfield (SBN 125998)
                                       alan@clgca.com
                                       16870 W. Bernardo Dr. Suite 400
                                       San Diego, CA 92127
                                       Tel: (619) 308-5034
                                       Fax: (855) 274-1888

                                       DOYLE APC
                                       Chris W. Cantrell (SBN 290874)
                                       chris@doyleapc.com
                                       550 West B Street, Fourth Floor
                                       San Diego, CA 92101
                                       Tel: (619) 736-0000
                                       Fax: (619) 736-1111

                                       WOOD LAW FIRM
                                       E. Kirk Wood (To Apply Pro Hac Vice)
                                       ekirkwood1@cs.com
                                       P. O. Box 382434
                                       Birmingham, AL 35238
                                       Tel: (205) 612-0243

                                       Johnson English Law Center
                                       12222 Merit Drive, Suite 1200
                                       Dallas, Texas 75251
                                         31
Case 3:20-cv-02458-MAS-TJB Document 39 Filed 12/03/21 Page 37 of 37 PageID: 1903




                                         M: 214.528.4300 / F: 972-733-1335
                                         jenglish@englishpllc.com

                                         WILLIAMS ATTORNEYS PLLC
                                         Nathaniel J. Clark
                                         Associate Attorney
                                         500 N. Water St. Ste 500
                                         Corpus Christi, TX 78401
                                         Office: 361-885-0184

                                         Jack E. Urquhart
                                         The Snapka Law Firm
                                         P.O. Drawer 23017
                                         Corpus Christi, Texas 78403
                                         (361) 888 7676

                                         Attorneys for Plaintiffs

                           CERTIFICATE OF SERVICE

        I hereby certify that I have this 3rd day of December 2021, electronically filed
  and/or mailed a copy of the foregoing to the following:

  Kateryna Stupnevich, Esq.
  Arthur J. Liederman, Esq.
  Nicole M. Battisti, Esq.
  Morrison Mahoney, LLP
  Wall Street Plaza
  88 Pine Street, Suite 1900
  New York, NY 10005
  Telephone: 212-825-1212
  Facsimile: 212-576-8934
  kstupnevich@morrisonmahoney.com
  aliederman@morrisonmahoney.com
  nbattisti@morrisonmahoney.com

                                                /s/ Anthony Pinnie        /      /
                                                Anthony Pinnie


                                           32
